Case 18-82948-CRJ11   Doc 303 Filed 09/11/19 Entered 09/11/19 11:54:57   Desc
                        Main Document    Page 1 of 11
Case 18-82948-CRJ11   Doc 303 Filed 09/11/19 Entered 09/11/19 11:54:57   Desc
                        Main Document    Page 2 of 11
Case 18-82948-CRJ11   Doc 303 Filed 09/11/19 Entered 09/11/19 11:54:57   Desc
                        Main Document    Page 3 of 11
Case 18-82948-CRJ11   Doc 303 Filed 09/11/19 Entered 09/11/19 11:54:57   Desc
                        Main Document    Page 4 of 11
Case 18-82948-CRJ11   Doc 303 Filed 09/11/19 Entered 09/11/19 11:54:57   Desc
                        Main Document    Page 5 of 11
Case 18-82948-CRJ11   Doc 303 Filed 09/11/19 Entered 09/11/19 11:54:57   Desc
                        Main Document    Page 6 of 11
Case 18-82948-CRJ11   Doc 303 Filed 09/11/19 Entered 09/11/19 11:54:57   Desc
                        Main Document    Page 7 of 11
Case 18-82948-CRJ11   Doc 303 Filed 09/11/19 Entered 09/11/19 11:54:57   Desc
                        Main Document    Page 8 of 11
Case 18-82948-CRJ11   Doc 303 Filed 09/11/19 Entered 09/11/19 11:54:57   Desc
                        Main Document    Page 9 of 11
Case 18-82948-CRJ11   Doc 303 Filed 09/11/19 Entered 09/11/19 11:54:57   Desc
                       Main Document    Page 10 of 11
Case 18-82948-CRJ11   Doc 303 Filed 09/11/19 Entered 09/11/19 11:54:57   Desc
                       Main Document    Page 11 of 11
